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10

11                         UNITED STATES DISTRICT COURT
12                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14     BRIAN G. HOLTKAMP,                     Case No. 8:24-cv-01285-JWH-
15            Plaintiff,                      ADSx
16           v.                               PROOF OF SERVICE
17     MOZILLA FOUNDATION,
18
                                              Judge: Hon. John W. Holcomb
              Defendant.                      Magistrate Judge: Hon. Autumn D.
19                                            Spaeth
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                                              Courtroom: 9D

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                                    PROOF OF SERVICE
          Case 8:24-cv-01285-JWH-ADS Document 16 Filed 07/23/24 Page 2 of 2 Page ID #:94



      1                                   PROOF OF SERVICE
      2          I am a resident of the State of California, over the age of eighteen years, and
      3    not a party to the within action. One of my business addresses is Ridder, Costa &
      4    Johnstone LLP, 440 N. Barranca Ave. #7550, Covina, CA 91723. On July 23,
      5    2024, I caused to be served the within documents:
      6          1. DEFENDANT MOZILLA FOUNDATION’S MOTION TO DISMISS;
      7              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
      8              THEREOF;
      9          2. DECLARATION OF CHRIS K. RIDDER IN SUPPORT OF
     10              DEFENDANT MOZILLA FOUNDATION’S MOTION TO DISMISS
     11              THE COMPLAINT
     12          3. [PROPOSED] ORDER ON DEFENDANT MOZILLA
     13              FOUNDATION’S MOTION TO DISMISS THE COMPLAINT;
     14          4. DEFENDANT MOZILLA FOUNDATION’S CERTIFICATION AND
     15              NOTICE OF INTERESTED PARTIES.
     16          BY ELECTRONIC FILING. I hereby certify that on July 23, 2024, the
     17    foregoing documents were filed electronically. Notice of this filing will be sent by
     18    operation of the Court’s electronic filing to all parties indicated on the electronic
     19    filing receipt, including Plaintiff Brian G. Holtkamp, who is a registered filer with
     20    the Court’s CM/ECF system.
     21          I declare under penalty of perjury under the laws of the United States of
     22    America that the foregoing is true and correct.
     23          I further declare that I am employed in the office of a member of the Bar of
     24    this Court at whose direction the service was made.
     25          Executed on July 23, 2024.
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     27
                                                          /s/ Chris K. Ridder
                                                          Chris K. Ridder (SBN 218691)
     28                                                   Ridder, Costa & Johnstone LLP
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                                             PROOF OF SERVICE
